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                                          U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York

                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       January 23, 2023

Hon. Jesse M. Furman
United States District Court
500 Pearl Street
New York, NY 10007

       Re:      United States v. Chastain, 22 Cr. 305 (JMF)

Judge Furman:

        Trial in the above-captioned case is scheduled to begin Monday, April 24, 2023. The
parties respectfully request the Court adopt the following schedule for pretrial disclosures:

       Monday, March 27, 2023: The Government provides to the Defendant material covered
by 18 U.S.C. § 3500 and Giglio v. United States, 405 U.S. 150 (1972). The Government also
provides notice to the Defendant of evidence it intends to introduce pursuant to Federal Rule of
Evidence 404(b).

         Monday, April 10, 2023: The Government provides to the Defendant a list of exhibits
that the Government reasonably expects to seek to introduce during its case-in-chief. This exhibit
list will be subject to good-faith revisions as the Government continues to prepare its case for trial,
including in response to the defense’s list of proposed exhibits that it anticipates seeking to
introduce into evidence during the Government’s case-in-chief. The Government also provides to
the Defendant a list of witnesses whom the Government reasonably expects to call in its case-in-
chief.

        Monday, April 17, 2023: The Defendant provides to the Government a list of exhibits
that the Defendant reasonably expects to introduce during the Government’s case-in-chief. This
exhibit list will be subject to good-faith revision as the defense continues to prepare for its case.

      At least five business days prior to the anticipated start of a defense case: The
Defendant provides to the Government material covered by Rule 26.2 of the Federal Rules of
Criminal Procedure.

       At least three business days prior to the anticipated start of a defense case: The
Defendant provides the Government with a list of exhibits that he reasonably expects to seek to
introduce during his case. This exhibit list will be subject to good-faith revision as the defense
continues to prepare for its case.
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        Recognizing that 3500 and Rule 26.2 obligations are continuing, the parties also agree that
when new material is generated after the pertinent deadlines described above, such material will
be timely provided, i.e., generally the same day it is generated, and prior to the witness to whom
it applies next taking the stand. The defense has also agreed that, consistent with Rule 26.2(c), if
the defense intends to withhold any such material on the grounds of privilege or work product, it
will provide that material to the Court for timely review.

        Both the Government and the defense anticipate timely agreeing to stipulations to avoid
the need to call custodians of records or otherwise to authenticate evidence or the accuracy of
transcripts, and the parties agree that the dates set forth herein do not alter the parties’ reciprocal
discovery obligations or the obligation to produce materials obtained pursuant to Federal Rule of
Criminal Procedure 17(c), absent an order to the contrary.


                                               Respectfully,

                                               DAMIAN WILLIAMS
                                               United States Attorney



                                           by: __/s/________________________
                                               Thomas Burnett/Nicolas Roos
                                               Assistant United States Attorneys




   The schedule above is hereby adopted. The Clerk of Court is directed to terminate Docket No. 49.

                                                          SO ORDERED.



                                                          January 23, 2023
